Case 2:05-cr-20102-BBD Document 28 Filed 08/24/05 Page 1 of 2 Page|D 18

IN THE UNITED STATES DISTRICT COURT l ` " " ~ B~C»
FOR THE WESTERN DISTRICT OF TENNESSEEDS

 

WESTERN DIVISION AUG 21* PH 3-' 29
UNITED STATES oF AMERICA, * in l
Plaimiff, *
v. * 05-20102_D
BRIAN EDWARD sLAYToN, *

Defendant.

 

ORDER GRANTING MOTION TO WITHDRAW FROM REPRESENTATION

 

Before this Court is the Motion to Withdraw from Representation, filed on August 24,
2005 . For good cause shown, the motion is GRANTED and the Federal Public Defender is

relieved from representation in this case. New counsel will be appointed from the CJA Pane].

It is so ORDERED this gaf day of August, 2005.

Qf

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ED STATES DISTRICT JUDGE

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Honorable Bernice Donald
US DISTRICT COURT

